
724 S.E.2d 528 (2012)
STATE
v.
Marshall BLACKMON.
No. 77P12-1.
Supreme Court of North Carolina.
April 12, 2012.
Marshall E. Blackmon, Smithfield, for Blackmon, Marshall Eugene.
Joseph L. Hyde, Assistant Attorney General, for State of North Carolina.
Peter S. Gilchrist, III, District Attorney, for State of North Carolina.
The following order has been entered on the motion filed on the 23rd of February 2012 by Defendant for Petition for Discretionary Review:
"Motion Denied by order of the Court in conference, this the 12th of April 2012."
JACKSON, J., recused.
